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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS,              )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

    MOTION FOR LEAVE TO FILE FURTHER NOTICE OF RECORD EVIDENCE

       Pursuant to Local Civil Rule 65.1(c), Plaintiff Bean LLC d/b/a Fusion GPS (“Fusion”)

hereby respectfully requests leave to file a Further Notice of Record Evidence, 1 as additional

facts relevant to Fusion’s request for a preliminary injunction or temporary restraining order

have come to light even since Fusion filed its Opposition to the Committee’s Motion to Strike on

December 18, 2017. Dkt. 51. Indeed, reports have surfaced that the subpoena to Fusion’s bank

is part of a “coordinated effort” that includes “attacks on the FBI and Justice Department.” Dkt.

51 at 3-4.

       On December 22, 2017, pursuant to Local Civil Rule 7(m), counsel for Fusion conferred

with counsel for the Committee, who indicated that the Committee opposes this Motion, and



1
  Fusion stills takes the position that LCvR 65.1(c) on its face applies only to affidavits and not
to notices of additional record evidence.
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with Defendant Bank’s counsel, who does not oppose this Motion. A proposed order is attached

and oral argument is not requested.

       For the reasons stated herein and in the proposed Notice attached hereto, Fusion

respectfully requests this Court’s leave to file a Further Notice of Record Evidence.

Dated: December 22, 2017                            Respectfully submitted,

                                                    /s/ Theodore J. Boutrous, Jr.
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                                                    FUSION GPS




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of December 2017, the foregoing was filed on the

Court’s CM/ECF system, thereby serving all counsel of record in this matter.



                                                   /s/ Theodore J. Boutrous, Jr.
                                                   Theodore J. Boutrous, Jr.




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